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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF OREGON
                                PORTLAND DIVISION

                                                 Case No.: 3:12-cv-2350
SHANNON JENNINGS,
                                                 COMPLAINT;
              Plaintiff,
                                                 FAIR DEBT COLLECTION PRACTICES
      vs.                                        ACT (15 U.S.C. § 1692a, et seq.);

CAVALRY PORTFOLIO SERVICES,                      DEMAND FOR JURY TRIAL
LLC,
              Defendant.
                                 I. INTRODUCTION

      1.      This is an action for damages brought by an individual consumer for

Defendant’s violations of the federal Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. (hereinafter “FDCPA”).

                                 II. JURISDICTION

      2.      Plaintiff’s claim for violations of the FDCPA arises under 15 U.S.C. §

1692k(d), and therefore involves a “federal question” pursuant to 28 U.S.C. § 1331.

                                    III. PARTIES

      3.      Plaintiff, Shannon Jennings (“Plaintiff”), is a natural person residing in
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Washington County, Oregon.

       4.      Defendant, Cavalry Portfolio Services, LLC, (“Defendant”) is a corporation

engaged in the business of collecting debts by use of the mails and telephone. Defendant

regularly attempts to collect debts alleged due another.

                            IV. FACTUAL ALLEGATIONS

       5.      Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. §

1692a(6).

       6.      Plaintiff is a “consumer” as defined by the FDCPA, 15 U.S.C. § 1692a(3).

       7.      All activities of Defendant set out herein were undertaken in connection

with the collection of a “debt,” as defined by 15 U.S.C. § 1692a(5).

       8.      Within the last year, Defendant took multiple actions in an attempt to

collect a debt from Plaintiff. Defendant’s conduct violated the FDCPA in multiple ways,

including the following.

       9.      Communicating with Plaintiff at times or places which were known or

should have been known to be inconvenient for Plaintiff, including contacting Plaintiff

prior to 8:00 am local time (§ 1692c(a)(1)).

       10.     Causing Plaintiff’s telephone to ring repeatedly or continuously with intent

to harass, annoy or abuse Plaintiff, including calling multiple times per day and making

automated calls that hung up on Plaintiff immediately after she answered (§ 1692d(5)).

       11.     Threatening to take an action against Plaintiff that cannot be legally taken

or that was not actually intended to be taken, including making non-specific threats to


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escalate collection by stating that things were going to “end badly” for Plaintiff (§

1692e(5)).

       12.     As a result of the aforementioned violations, Plaintiff suffered and

continues to suffer injuries to Plaintiff’s feelings, personal humiliation, embarrassment,

mental anguish and severe emotional distress.

       13.     Defendant intended to cause, by means of the actions detailed above,

injuries to Plaintiff’s feelings, personal humiliation, embarrassment, mental anguish and

severe emotional distress.

       14.     Defendant’s actions, detailed above, were undertaken with extraordinary

disregard of, or indifference to, known or highly probable risks to purported debtors.

       15.     To the extent Defendant’s actions, detailed in paragraphs above, were

carried out by an employee of Defendant, that employee was acting within the scope of

his or her employment.

   COUNT I: VIOLATION OF FAIR DEBT COLLECTION PRACTICES ACT

       16.     Plaintiff reincorporates by reference all of the preceding paragraphs.

       17.     The preceding paragraphs state a prima facie case for Plaintiff and against

Defendant for violations of the FDCPA, §§ 1692c, 1692d, and 1692e.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays that judgment be entered against the

Defendant for the following:

       A.      Declaratory judgment that Defendant’s conduct violated the FDCPA;


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      B.      Actual damages pursuant to 15 U.S.C. 1692k;

      C.      Statutory damages pursuant to 15 U.S.C. § 1692k;

      D.      Costs, disbursements and reasonable attorney’s fees for all successful

claims, and any unsuccessful claims arising out of the same transaction or occurrence as

the successful claims, pursuant to 15 U.S.C. § 1692k; and,

      E.      For such other and further relief as may be just and proper.

               PLAINTIFF HEREBY REQUESTS A TRIAL BY JURY



                                              Dated this 27th day of December, 2012.


                                                  By:_s/Joshua Trigsted________
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